        Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 1 of 19




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


MIKE COAN,                                Case No.:

               Plaintiff,
                                          COMPLAINT FOR DEFAMATION
       v.

LAKESIDE COMMUNICATIONS,                  DEMAND FOR JURY TRIAL
LLC

              Defendant.


      Plaintiff Mike Coan, by and through his undersigned counsel, states his

Complaint    for   Defamation     (“Complaint”)    against   Defendant    Lakeside

Communications, LLC (“Lakeside Communications”), as follows:

                                INTRODUCTION

      1.    This is an action for defamation arising from Defendant Lakeside

Communications’ publication of a campaign commercial—published nearly 400

times on Fox News—on the eve of Georgia’s Republican primary election for Labor

Commissioner. That commercial falsely and maliciously accused Plaintiff Mike

Coan of being responsible for a criminal human trafficking conspiracy at the Georgia

Department of Labor.




                                         1
        Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 2 of 19




      2.     Lakeside Communications is a political consulting firm that

represented current Georgia Senator Bruce Thompson in that primary election for

Labor Commissioner. According to its website, Lakeside Communications “share[s]

your story using creative storytelling and bold visuals designed to persuade voters

and win races” and has “produced winning ads for candidates for President, U.S.

Senator, Governor, statewide office & dozens of members of Congress.”1

      3.     Lakeside Communications is not shy about its method and purpose—

to raise voter awareness of its candidate while denigrating the trust a voter may have

in the opposition through the use of paid advertising, because it is “the most efficient

way of intrusively communicating a message to the greatest number of people in the

shortest period of time” and, as is palpably applicable here, “a picture is worth a

thousand words.”

      4.     In this instance, Lakeside Communications published a campaign

commercial containing the following still frame while a voiceover states “[t]his

career politician and bureaucrat who screwed up the Department of Labor wants to

be our next Labor Commissioner”:




1
   See About Lakeside, https://web.archive.org/web/20220727161138/https://
lakeside-communications.com/.
                                           2
        Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 3 of 19




      5.     Stressed by the voiceover, Coan’s photograph and name, and yellow

highlighting, Lakeside Communications conveyed, and intended to convey, the false

and defamatory accusation that Coan was implicated by law enforcement in a human

trafficking conspiracy.

      6.     The language quoted and attributed to USA TODAY is, indeed, a

headline from a USA TODAY article published on April 19, 2022. A true and correct

copy of that USA TODAY article is attached hereto as Exhibit A and incorporated

herein by reference.2




2
  See also https://www.usatoday.com/in-
depth/news/investigations/2022/04/19/georgia-trafficking-farmworker-forced-
labor-probe-government-ties/9490474002/ (last visited July 26, 2022).
                                       3
         Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 4 of 19




       7.       The USA TODAY article does not mention Coan at all; nor would it,

because he had absolutely nothing to do with the alleged massive criminal

conspiracy to traffic human beings into forced labor on Georgia farms described in

that article.

       8.       Indeed—as Lakeside Communications knew prior to publication of the

false and defamatory campaign commercial—Coan did not join the Georgia

Department of Labor in any capacity until December 2021 when he was appointed

its Deputy Commissioner. The alleged criminal conspiracy concerns allegations

occurring “in or before 2015,” and The United States Attorney’s Office for the

Southern District of Georgia announced the unsealing of an indictment of “24

defendants for human trafficking” on November 22, 2021, both dates before Coan

ever arrived at the Department of Labor. A true and correct copy of a press release

issued by The United States Attorney’s Office for the Southern District of Georgia

is attached hereto as Exhibit B and incorporated herein by reference.3

       9.       This accusation is not mere political hyperbole.          Lakeside

Communications fabricated an accusation against Coan that an investigation by law

enforcement had tied him to human trafficking in his role as a government official.



3
  See also https://www.justice.gov/usao-sdga/pr/human-smuggling-forced-labor-
among-allegations-south-georgia-federal-indictment (last visited July 26, 2022).
                                          4
          Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 5 of 19




It did so by consciously manipulating its only apparent source—USA TODAY—to

say something that it simply did not say: Mike Coan was involved in or otherwise

responsible for a human trafficking conspiracy at the Department of Labor.

         10.   The unstated details of this alleged criminal conspiracy are despicable.

Twenty-four individuals—one of whom is a former Department of Labor

employee—are alleged to have engaged in a “human smuggling and trafficking

operation that illegally imported Mexican and Central American workers into brutal

conditions on South Georgia farms,” subjecting the victims to “modern-day

slavery,” “imprisoned under inhumane conditions” that included rape, kidnapping,

attempted murder, and causing the death of at least two workers.4

         11.    Given Lakeside Communications’ and Bruce Thompson’s conscious

defamation of Coan, it is not altogether surprising that Senator Thompson defeated

Coan in the primary election for Georgia’s Labor Commissioner.

         12.   Accordingly, this is an action for defamation per se against Lakeside

Communications for its publication of a campaign commercial for Bruce Thompson

falsely accusing Coan of being tied to or otherwise involved in human trafficking.

                    PARTIES, JURISDICTION, AND VENUE

         13.   Plaintiff Coan is a citizen of Georgia who resides in Gwinnett County.


4
    See id.
                                           5
        Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 6 of 19




      14.    Defendant Lakeside Communications, LLC is an Ohio limited liability

company and citizen of Ohio, and it may be served with summons and process via

its duly appointed registered agent, Robert A. Kish, Jr., at 90 Halligan Ave.,

Worthington, Ohio 43085.

      15.    There exists complete diversity of citizenship between Coan and

Defendant Lakeside Communications.

      16.    The amount in controversy significantly exceeds $75,000, exclusive of

interest, costs, and attorneys’ fees.

      17.    Therefore, this Court has subject matter jurisdiction over this matter

pursuant to 28 U.S.C. § 1332(a)(1).

      18.    Defendant Lakeside Communications established significant Georgia

contacts in the course of its consulting for Georgia Senator Bruce Thompson, each

of which are directly related to the defamation at issue in this case and were formed

as part of its purpose to influence a state-wide Georgia election.

      19.    Defendant Lakeside Communications represented a Georgia Senator in

a state-wide election for Labor Commissioner.

      20.    Defendant Lakeside Communications, on behalf of Senator Bruce

Thompson, contracted with multiple companies—both domestic and foreign

companies, all of which transact business in Georgia—to air approximately 371

                                          6
        Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 7 of 19




campaign advertisements on Fox News in Georgia markets, for the purpose of

influencing a state-wide election.

      21.    For instance, according to the FCC’s public inspection file, Defendant

Lakeside Communications contracted with Georgia entities and companies doing

business in Georgia, as follows:

             a. Comcast of Georgia I, LLC, a Georgia limited liability company, to

                air 78 commercials on Fox News in the Savannah, Georgia and

                Hinesville, Georgia markets (see Exhibit C-1);5

             b. Comcast of Georgia I, LLC, to air 94 commercials on Fox News in

                the Atlanta, Georgia and Madison, Georgia markets (see Exhibit C-

                2);6

             c. Comcast of Greater Florida/Georgia, Inc., a Florida corporation

                previously authorized to transact business in Georgia, to air 116

                commercials in the Brunswick, Georgia and North Florida markets

                (which cover portions of South Georgia) (see Exhibit C-3); and




5
  Such an agreement also exists with Comcast of Georgia/South Carolina, LLC, a
Colorado limited liability company authorized to transact business in Georgia.
6
   Such an agreement also exists with Comcast of Georgia/Michigan, LLC, a
California limited liability company authorized to transact business in Georgia.
                                         7
        Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 8 of 19




            d. Comcast of Greater Florida/Georgia, Inc. to air 83 commercials in

                the Valdosta, Georgia and Tallahassee, Florida markets (which

                cover portions of South Georgia) (see Exhibit C-4).

A true and correct copy of the agreements and order forms available on the FCC’s

public inspection file for each of the above is attached hereto as composite Exhibit

C and incorporated herein by reference.

      22.   Defendant Lakeside Communications’ defamation of Coan was

directed specifically toward the State of Georgia, including toward Coan by

knowingly targeting a Georgia citizen and toward its voters at-large for the purpose

of affecting the outcome of a state-wide Georgia election.

      23.   Sufficient contacts exist with respect to Defendant Lakeside

Communications, its business, and the claims at issue in this case to satisfy the

requirements of due process.

      24.   Accordingly, this Court has personal jurisdiction over Defendant

Lakeside Communications pursuant to O.C.G.A. § 9-10-91 because, inter alia,

Lakeside Communications has significant contacts within the State of Georgia to

anticipate being haled into court in the State of Georgia, transacts significant

business within the State of Georgia—those contacts being directly related to the



                                          8
        Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 9 of 19




defamation at issue in this case—and otherwise has engaged in a persistent course

of conduct aimed at the State of Georgia.

      25.    A substantial part of the events giving rise to this claim occurred in this

District. Specifically, and without limitation, the defamation was published in the

Atlanta, Georgia markets and Plaintiff Coan’s injuries were suffered in this District,

including at his place of residence in Gwinnett County, Georgia, also in this District.

      26.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2)-(3),

1391(c)(2), and 1391(d).

                           FACTUAL BACKGROUND

     Plaintiff Coan Arrives at the Department of Labor in December 2021

      27.    As is a matter of public record, Plaintiff Coan did not hold any position

within the Department of Labor until December 2021.

      28.    As is a matter of public record, the alleged human trafficking

conspiracy involving the Department of Labor and subject of Defendant Lakeside

Communications’ false accusations is alleged to have occurred in or before 2015.

      29.    As is a matter of public record, in November 2021, the United States

Attorney’s Office for the Southern District of Georgia—which is prosecuting the

alleged human trafficking conspiracy involving the Department of Labor—



                                            9
         Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 10 of 19




announced a previously sealed indictment of the 24 individuals allegedly involved

in the conspiracy and identified them by name.

        30.   Between 1996 and 2010, Plaintiff Coan served in the Georgia House of

Representatives.

        31.   Between 2010 and 2020, Plaintiff Coan led Georgia’s Subsequent

Injury Trust Fund, having been appointed by Governor Purdue, Governor Deal, and

Governor Kemp.

        32.   Beginning December 2021, Plaintiff Coan served as the Deputy

Commissioner of the Department of Labor.

        33.   In March 2022, Plaintiff Coan left his position as Deputy

Commissioner of the Department of Labor for the purpose of entering the election

for Labor Commissioner, and re-joined the Department in the same position in June

2022.

                Lakeside Communications Accuses Plaintiff Coan
                    of Being Involved in Human Trafficking

        34.   Georgia’s primary election for Labor Commissioner occurred on May

24, 2022.

        35.   On April 19, 2022, USA TODAY published an article headlined

“‘Beyond troubling’: Current, former government officials tied to human trafficking

probe in Georgia,” recounting details of the alleged human trafficking conspiracy
                                        10
       Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 11 of 19




and its purported connections to two Georgia Department of Labor employees. See

Exhibit A.

      36.    According to the USA TODAY article, an indictment for the alleged

conspiracy was returned in October 2021, and the announcement of the indictment

was made in November 2021. See id.

      37.    Thirteen days after USA TODAY published its article, Lakeside

Communications purchased 371 slots for the defamatory commercial (the

“Defamatory Commercial”) to air on Fox News in its Georgia markets, running from

May 2, 2022, to May 22, 2022.

      38.    The Court may view the Defamatory Commercial published by

Lakeside Communications on Bruce Thompson’s campaign committee’s YouTube

channel at https://www.youtube.com/watch?v=3PyfzgfEga4 (last visited July 26,

2022) and

https://www.dropbox.com/s/mz883xeyyxfniwg/Bruce%20Thompson%20For%20

Georgians_YouTube%20Campaign%20Commercial.MP4?dl=0, each of which are

incorporated herein by reference.

      39.    The Defamatory Commercial begins with a voiceover stating: “This

career politician and bureaucrat who screwed up the Department of Labor wants to

be our next Labor Commissioner. A better choice, Bruce Thompson.”

                                      11
       Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 12 of 19




      40.   While the voiceover is heard, the Defamatory Commercial shows

Plaintiff Coan’s face and name, including as set forth below:




      41.   Upon     information   and   belief—including       Defendant   Lakeside

Communications’ website, the FCC public inspection files referenced herein, and

Defendant’s failure to rebut Coan’s assertion via letter that it produced the

                                         12
       Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 13 of 19




Defamatory Commercial—Defendant Lakeside Communications was involved in

the creation and production of the Defamatory Commercial.

      42.    Additionally, as set forth above, Lakeside Communications purchased

371 slots for the Defamatory Commercial to air on Fox News between May 2, 2022,

and May 22, 2022. See Exhibit C.

      43.    Lakeside Communications published the Defamatory Commercial

and/or caused it to be published to third parties without privilege, including, without

limitation, Comcast d/b/a Effectv.

      44.    Lakeside Communications published the Defamatory Commercial to

third parties, including Comcast d/b/a Effectv, with the express intention that it

would be republished on Fox News.

                              Demand for Retraction

      45.    On June 29, 2022, Plaintiff Coan delivered to Defendant Lakeside

Communications a demand for retraction of the false accusations in the Defamatory

Commercial. A true and correct copy of same is attached hereto as Exhibit D and

incorporated herein by reference.

      46.    The retraction demand was delivered via FedEx to Lakeside

Communications and via e-mail to its Lead Media Buyer & Strategist, Robert Clegg,

whose signature is listed on each of the agreements with Comcast.

                                          13
       Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 14 of 19




      47.    Although a read receipt of the retraction demand thread was received

from Mr. Clegg, neither he nor Defendant Lakeside Communications issued any

kind of retraction or correction of the false accusations in the Defamatory

Commercial, nor did they respond to the retraction demand or a follow-up e-mail.

                  CAUSE OF ACTION FOR DEFAMATION

      48.    Plaintiff Coan incorporates by reference paragraphs 1 through 47 of this

Complaint as though set forth in their entirety.

      49.    Defendant Lakeside Communications published the Defamatory

Commercial to cable operator Comcast d/b/a Effectv.

      50.    In its complete context, the Defamatory Commercial conveyed the false

and defamatory meaning that Plaintiff Coan was responsible for and/or otherwise

tied to a criminal human trafficking conspiracy in the context of his career (the

“False and Defamatory Accusation”).

      51.    The False and Defamatory Accusation is unequivocally false. Plaintiff

Coan had absolutely no involvement—personal, professional, or otherwise—in any

conspiracy to traffic human beings for any purpose.

      52.    The False and Defamatory Accusation is defamatory per se, in that it

accuses Plaintiff Coan of criminal conduct and otherwise disparages him in his

profession, and damages are therefore presumed as a matter of law.

                                         14
       Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 15 of 19




      53.   The False and Defamatory Accusation is of and concerning Plaintiff

Coan, including because his name and photograph was shown while the Defamatory

Commercial stated “[t]his career politician and bureaucrat”.

      54.   Defendant Lakeside Communications published the False and

Defamatory Accusation without privilege.

      55.   Defendant Lakeside Communications published the False and

Defamatory Accusation negligently and with actual malice, in that it (and its

employees) knew or recklessly disregarded that Plaintiff Coan had no involvement

of any kind in any conspiracy to traffic human beings.

      56.   Defendant Lakeside Communications published the False and

Defamatory Accusation negligently and with actual malice, in that it (and its

employees) knew or recklessly disregarded that the alleged conspiracy to traffic

human beings occurred prior to Plaintiff Coan having any position of any kind within

the Department of Labor.

      57.   Defendant Lakeside Communications published the False and

Defamatory Accusation negligently and with actual malice, in that it (and its

employees) knew or recklessly disregarded that the indictment for the alleged

conspiracy to traffic human beings was returned prior to Plaintiff Coan having any

position of any kind within the Department of Labor.

                                        15
       Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 16 of 19




      58.    Defendant Lakeside Communications published the False and

Defamatory Accusation negligently and with actual malice, in that it (and its

employees) knew or recklessly disregarded that its sole apparent source—the USA

TODAY article—did not mention Plaintiff Coan, and the article otherwise indicated

that the alleged conspiracy occurred prior to Plaintiff Coan’s employment at the

Department of Labor.

      59.    Defendant Lakeside Communications published the False and

Defamatory Accusation negligently and with actual malice, in that it literally made

it up out of whole cloth without any evidence or information to support it.

      60.    In addition to presumed damages, the False and Defamatory Accusation

caused Plaintiff Coan significant actual reputational and emotional suffering.

      61.    Defendant Lakeside Communications knew, intended, and foresaw that

its Defamatory Commercial and False and Defamatory Accusation would be widely

republished to a significant audience in Georgia by Comcast and/or Fox News.

      62.    Accordingly, Defendant Lakeside Communications is liable for all

damages suffered by Plaintiff Coan as a result of such intended and/or foreseeable

republication of the False and Defamatory Accusation.




                                         16
       Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 17 of 19




      63.    Despite being confronted with the falsity of its accusations, Defendant

Lakeside Communications has taken no action whatsoever to correct or clarify its

False and Defamatory Accusation.

      64.    Defendant Lakeside Communications’ False and Defamatory

Accusation was specifically designed and intended to cause knowing harm to

Plaintiff Coan, in an effort to assist its client—Bruce Thompson—in winning an

election for Labor Commissioner.

      65.    As a result of Defendant Lakeside Communications’ malice and intent

to harm, Plaintiff Coan is entitled to an award of punitive damages to punish

Defendant for its unlawful conduct and to deter it from repeating such misconduct

in the future, including in this State’s and country’s political races.

      66.    Defendant Lakeside Communications’ actions were further taken in

bad faith, and it has otherwise been stubbornly litigious, and Plaintiff Coan is

therefore entitled to an award of his reasonable attorney’s fees and costs.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Mike Coan respectfully petitions this Honorable

Court for the following relief:

   a) That Summons and Process issue as provided by law;

   b) That Coan be granted a trial before a jury of his peers;

                                           17
    Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 18 of 19




c) That Coan be granted judgment and all appropriate damages against

   Defendant Lakeside Communications for its false and defamatory per se

   accusations; and

d) For such other and further relief as the Court may deem just and proper.

   Respectfully submitted this 1st day of August, 2022.

                                WADE, GRUNBERG & WILSON, LLC

                                /s/ G. Taylor Wilson
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                                Counsel for Plaintiff Mike Coan




                                     18
       Case 1:22-cv-03037-VMC Document 1 Filed 08/01/22 Page 19 of 19




                    CERTIFICATION UNDER L.R. 7.1D.

      Pursuant to Northern District of Georgia Civil Local Rule 7.1D, the

undersigned counsel certifies that this COMPLAINT FOR DEFAMATION is a

computer document and was prepared in Times New Roman 14 point font, as

mandated in Local Rule 5.1C.

      This 1st day of August, 2022.

                                             /s/ G. Taylor Wilson
                                             G. Taylor Wilson




                                        i
